Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 1 of 26           PageID #:
                                    112



                           IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF HAWAI`I
  PATRICIA SEGOVIA,                               Civil No. 15-00519 DKW-RLP
  INDIVIDUALLY and as
  ADMINISTRATOR OF THE ESTATE                     MEMORANDUM IN SUPPORT OF
  OF THOMAS SEGOVIA, SR.,                         MOTION
  DECEASED and GARY A. POWELL,
  EXECUTIVE DIRECTOR OF THE
  CAREGIVER FOUNDATION, INC.,
  as SPECIAL ADMINISTRATOR,

                     Plaintiffs,
           vs.

  BRISTOL-MYERS SQUIBB
  COMPANY and PFIZER, INC.,

                     Defendants.


                          MEMORANDUM IN SUPPORT OF MOTION




  951887v1/11562-2 - EAST\120439623.15
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 2 of 26                                            PageID #:
                                    113

                                            TABLE OF CONTENTS

                                                                                                                  Page


  I.      INTRODUCTION ..........................................................................................1
  II.     FACTUAL BACKGROUND.........................................................................2
          A.          Eliquis (apixaban).................................................................................2
          B.          Procedural Posture................................................................................4
  III.    LEGAL ANALYSIS ......................................................................................4
          A.          Motion to Dismiss Under Fed. R. Civ. P. 12(b)(6) ..............................4
          B.          Plaintiffs’ Manufacturing Defect Claims Are Not Supported by
                      Sufficient Facts and Should Be Dismissed ..........................................6
                      1.       Plaintiffs’ Strict Liability Manufacturing Defect Claims
                               (Counts I and II) Fail to Allege Facts Sufficient to
                               Support a Claim for Relief .........................................................6
                      2.       Plaintiffs’ Negligent Manufacturing Defect Claims
                               (Count III) Fail to Allege Facts Sufficient to Support a
                               Claim for Relief .........................................................................9
          C.          Plaintiffs’ Design Defect Claims Fail to the Extent They Are
                      Based on Eliquis’ Chemical Composition .........................................11
          D.          Plaintiffs’ Fraud-Based Allegations of Misrepresentation Fail to
                      Satisfy the Heightened Pleading Standard of Rule 9(b) and
                      Should Be Dismissed .........................................................................15
          E.          Plaintiffs’ Claim for Punitive Damages Is Not Supported by
                      Sufficient Factual Allegations ............................................................19
  IV.     CONCLUSION.............................................................................................20




  EAST\120439623.15                                            i
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 3 of 26                                      PageID #:
                                    114



                                        TABLE OF AUTHORITIES

                                                                                                          Page(s)
  CASES
  Ashcroft v. Iqbal,
     556 U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) ..........................passim

  Ass’n of Apartment Owners of Newtown Meadows ex rel. Bd. of Dir. v.
     Venture 15, Inc.,
     115 Hawai`i 232 (2007) ...................................................................................... 19

  Barnes v. Sea Hawai`i Rafting, LLC,
    2013 WL 6062527 (D. Haw. Nov. 15, 2013) ..................................................... 20

  Beavers-Gabriel v. Medtronic, Inc.,
    15 F. Supp. 3d 1021 (D. Haw. 2014) .................................................................... 5

  Bell Atl. Corp. v. Twombly,
     550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007) ..........................passim

  Brown v. Super. Ct.,
     44 Cal. 3d 1049 (1988) .................................................................................13, 14

  Burlington Ins. Co. v. United Coatings Mfg. Co.,
    518 F. Supp. 2d 1241 (D. Haw. 2007) .................................................................. 7

  Dolan v. Hilo Med. Ctr.,
    127 Hawai`i 325 (2012) .................................................................................... 7, 8

  Forsyth v. Eli Lilly and Co.,
    1998 WL 35152135 (D. Haw. Jan. 5, 1998).................................................12, 13

  Hancock v. Kulana Partners, LLC,
    992 F. Supp. 2d 1053 (D. Haw. 2014) .................................................................. 3

  Harmer Radio & Elec., Inc. v. S & S Fire Apparatus Co.,
    2013 WL 3663878 (D. Haw. July 11, 2013) ...................................................... 15

  Hawai`i Coal. for Health v. Hawai`i, Dep’t of Human Serv.,
    576 F. Supp. 2d 1114 (D. Haw. 2008) .................................................................. 3



  951887v1/11562-2 -EAST\120439623.15                      ii
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 4 of 26                                         PageID #:
                                    115



  Illinois Nat. Ins. Co. v. Nordic PCL Constr., Inc.,
      870 F. Supp. 2d 1015 (D. Haw. 2012) ....................................................16, 17, 18

  Kearns v. Ford Motor Co.,
    567 F.3d 1120 (9th Cir. 2009) ............................................................................ 16

  Larsen v. Pacesetter Sys., Inc.,
     74 Haw. 1 (1992) ..........................................................................................11, 12

  Lucas v. City of Visalia,
     726 F. Supp. 2d 1149 (E.D. Cal. 2010) ........................................................10, 11

  Masaki v. Gen. Motors Corp.,
    71 Haw. 1 (1989) ................................................................................................ 19

  Mutual Pharm. Co. v. Bartlett,
    570 U.S. ---, 133 S. Ct. 2466 (2013)................................................................... 14

  Neubronner v. Milken,
    6 F.3d 666 (9th Cir. 1993) .................................................................................. 16

  Nimtz v. Cepin,
    2011 WL 831182 (S.D. Cal. Mar. 3, 2011) ........................................................ 10

  Papike v. Tambrands Inc.,
    107 F.3d 737 (9th Cir. 1997) .............................................................................. 15

  Patterson v. Bayer Healthcare Pharms., Inc.,
     2015 WL 778997 (E.D. Cal. Feb. 24, 2015) ...................................................... 13

  Rodriguez v. Gen. Dynamics Armament & Tech. Prods., Inc.,
    696 F. Supp. 2d 1163 (D. Haw. 2010) .................................................................. 7

  S.E.C. v. Lyndon,
     27 F. Supp. 3d 1062 (D. Haw. 2014) .................................................................... 6

  Smallwood v. NCsoft Corp.,
    730 F. Supp. 2d 1213 (D. Haw. 2010) ................................................................ 17

  Stanley v. Novartis Pharms. Corp.,
     11 F. Supp. 3d 987 (C.D. Cal. 2014) .................................................................. 13




  951887v1/11562-2 -EAST\120439623.15                        iii
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 5 of 26                                             PageID #:
                                    116



  Tabieros v. Clark Equip. Co.,
    85 Hawai`i 336 (1997) ....................................................................................9, 11

  Torres v. N.W. Eng’g Co.,
     86 Hawai`i 383 (1997) ........................................................................................ 11

  Tucker v. Wright Med. Tech., Inc.,
     2013 WL 1149717 (N.D. Cal. Mar.19, 2013) .................................................... 13

  Vess v. Ciba–Geigy Corp. USA,
     317 F.3d 1097 (9th Cir. 2003) ...................................................................... 16, 17

  Wada v. Aloha King, LLC,
    --- F.Supp.3d ----, 2015 WL 9459898 (D. Haw. Dec. 23, 2015).......................... 5

  Wagatsuma v. Patch,
    10 Haw. App. 547 (1994) ................................................................................... 10

  Wilson v. Amneal Pharmaceuticals, L.L.C.,
     2013 WL 6909930 (D. Idaho Dec. 31, 2013) ....................................................... 3

  Wyeth v. Levine,
    555 U.S. 555, 129 S.Ct. 1187 (2009).................................................................. 14

  Yates v. Ortho-McNeil-Janssen Pharms., Inc.,
     No. 15-3104, slip op. (6th Cir. Dec. 11, 2015) ................................................... 14

  OTHER AUTHORITIES
  Fed. R. Civ. P. 8(a)(2) ................................................................................................ 4

  Fed. R. Civ. P. 9(b) ...........................................................................................passim

  Fed. R. Civ. P. 12(b) .................................................................................................. 5

  Fed. R. Civ. P. 12(b)(6) ........................................................................................4, 20

  Fed. R. Evid. 201(b) ................................................................................................... 3

  Restatement (Second) of Torts § 402A.................................................................... 11




  951887v1/11562-2 -EAST\120439623.15                          iv
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 6 of 26                 PageID #:
                                    117



              MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

  I.       INTRODUCTION

           Plaintiffs’ wrongful death action alleges that Thomas Segovia, Sr.

  (“Mr. Segovia”) died on July 27, 2014, after experiencing a hemorrhagic stroke in

  December 2013. They allege Mr. Segovia died as a result of taking Eliquis, an

  anti-coagulant developed by Defendants to help prevent strokes in patients with

  atrial fibrillation. Plaintiffs claim that Defendants failed to warn physicians that

  Eliquis could cause bleeding, even though the Eliquis label approved by the U.S.

  Food & Drug Administration (“FDA”) has warned since December 2012 (more

  than ten months before Mr. Segovia started taking Eliquis) that Eliquis “increases

  the risk of bleeding and can cause serious, potentially fatal bleeding.” See Request

  for Judicial Notice (“RJN”), Ex. B.

           Plaintiffs assert three causes of action: (1) strict liability in tort,

  (2) manufacturing and design defect, and (3) negligence and gross negligence.

  Regardless of what Plaintiffs call their causes of action, however, at bottom

  Plaintiffs allege little more than that Defendants failed to warn that Eliquis could

  increase the risk of bleeding, notwithstanding the fact that the label expressly

  warned of the type of injury Mr. Segovia allegedly sustained. Plaintiffs fail to state

  a claim for a myriad of reasons.




  951887v1/11562-2 -EAST\120439623.15             1
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 7 of 26                PageID #:
                                    118



           First, Plaintiffs allege a manufacturing defect claim, but they fail to plead the

  facts required to support such a claim. Second, Plaintiffs allege a design defect

  claim, but they are foreclosed from bringing such a claim to the extent it is based

  on the chemical composition or other aspects of the design of Eliquis. That is so

  because, under the Restatement (Second) of Torts (relevant provisions of which

  Hawaii’s courts have adopted), plaintiffs cannot assert design defect claims for

  “unavoidably unsafe” products, such as prescription medications, except to the

  extent plaintiffs challenge the adequacy of the medication’s label. Third, some of

  Plaintiffs’ claims appear founded on allegations of fraud. As such, under Fed. R.

  Civ. P. 9(b), Plaintiffs are required to plead their claims with specificity, which

  they have not done. Finally, although Plaintiffs purport to seek punitive damages,

  Plaintiffs fail to allege facts that would give rise to such damages. This collection

  of defects in Plaintiffs’ First Amended Complaint calls for dismissal of all their

  claims, except to the extent their strict liability and negligence causes of action

  implicate Defendants’ alleged failure to warn.

  II.      FACTUAL BACKGROUND

           A.       Eliquis (apixaban)

           Eliquis is a prescription anti-coagulant (blood thinner), which reduces the

  risk of blood clots by blocking a clotting factor known as Factor Xa, and which

  was developed and is marketed jointly by Defendants.


  951887v1/11562-2 -EAST\120439623.15           2
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 8 of 26              PageID #:
                                    119



           In December 2012, FDA approved Eliquis to reduce the risk of stroke and

  blood clots in people who have atrial fibrillation, a type of irregular heartbeat that

  can cause blood clots and lead to a stroke. See Ex. G, First Amended Complaint

  (“FAC”) Dkt. 8 at ¶¶ 23-24. From the outset, the Eliquis label warned physicians

  that Eliquis “increases the risk of bleeding and can cause serious, potentially fatal,

  bleeding.” RJN, Ex. B.1 In March 2014 and August 2014, FDA approved Eliquis

  for additional uses and approved the language quoted above on both occasions.

           The Complaint alleges that Decedent was prescribed Eliquis for treatment of

  his atrial fibrillation for approximately two months before suffering a hemorrhagic

  stroke on December 20, 2013, and that he died on July 27, 2014. FAC ¶¶ 10-12.




           1
           Because FDA communications, approvals and labels are matters of public
  record that can be “accurately and readily determined from sources whose
  accuracy cannot reasonably be questioned” and thus are “not subject to reasonable
  dispute,” Fed. R. Evid. 201(b), the court may take judicial notice of them without
  converting this motion into one for summary judgment. See Hancock v. Kulana
  Partners, LLC, 992 F. Supp. 2d 1053, 1058 (D. Haw. 2014); Hawai`i Coal. for
  Health v. Hawai`i, Dep’t of Human Serv., 576 F. Supp. 2d 1114, 1119 n.3 (D.
  Haw. 2008), aff’d, 365 Fed. Appx. 874 (9th Cir. 2010); see also Wilson v. Amneal
  Pharms., L.L.C., No. 1:13-cv-00333, 2013 WL 6909930, *5-7 (D. Idaho Dec. 31,
  2013) (taking judicial notice of FDA-approved labels where cause of action for
  failure to warn was dependent upon the label, and referenced by plaintiff’s
  allegation that defendant failed to give proper notice and instructions as to the
  defects and dangers of the drug.)


  951887v1/11562-2 -EAST\120439623.15         3
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 9 of 26               PageID #:
                                    120



           B.       Procedural Posture

           Plaintiff Patricia Segovia initiated this lawsuit by filing a Complaint [Dkt. 1]

  in this Court on December 15, 2015. On December 18, 2015, Plaintiff filed a First

  Amended Complaint. Among the changes to the Complaint, she now brings the

  claims in her individual capacity and as Administrator of the Estate of Thomas

  Segovia, Sr., Deceased. See Ex. G, FAC. The Amended Complaint also includes

  Plaintiff “Gary A. Powell, Executive Director of the Caregiver Foundation, Inc., as

  Special Administrator.” Id. Ms. Segovia and Mr. Powell hereinafter will be

  referred to collectively as “Plaintiffs.”

  III.     LEGAL ANALYSIS

           A.       Motion to Dismiss Under Fed. R. Civ. P. 12(b)(6)

           Federal Rule of Civil Procedure 8(a)(2) requires a “short and plain statement

  of the claim showing that the pleader is entitled to relief,” in order to “give the

  defendant fair notice of what the . . . claim is and the grounds upon which it rests.”

  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 1964-65, 167 L.

  Ed. 2d 929 (2007) (citations omitted) (“Twombly”). While a complaint does not

  need detailed factual allegations to survive a Rule 12(b)(6) motion to dismiss, a

  plaintiff’s obligation to provide the “grounds” of her “entitle[ment] to relief”

  requires more than labels and conclusions, and a formulaic recitation of the

  elements of a cause of action will not suffice. See id.


  951887v1/11562-2 -EAST\120439623.15          4
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 10 of 26                 PageID #:
                                     121



           Indeed, dismissal under Fed. R. Civ. P. 12(b) is required when a plaintiff

  fails to set forth “enough facts to state a claim [for] relief that is plausible on its

  face.” Twombly, 550 U.S. at 570. In adopting the plausibility standard for

  evaluating federal complaints, the Supreme Court held that “factual allegations

  must be enough to raise a right of relief above the speculative level.” Id. at 555,

  561-63. In Ashcroft v. Iqbal, 556 U.S. 662, 678-79, 129 S. Ct. 1937, 1939, 173 L.

  Ed. 2d 868 (2009) (“Iqbal”), the Court explained that a court must identify which

  statements in the complaint are factual allegations and which are legal conclusions,

  even if cast in the form of factual allegations. See id. at 681.

           Conclusory allegations of law, unwarranted deductions of fact, and

  unreasonable inferences are insufficient to defeat a motion to dismiss. See Wada v.

  Aloha King, LLC, --- F.Supp.3d ----, No. 14-00275, 2015 WL 9459898, at *6-7

  (D. Haw. Dec. 23, 2015); Beavers-Gabriel v. Medtronic, Inc., 15 F. Supp. 3d 1021,

  1029 (D. Haw. 2014). Additionally, the court need not accept as true allegations

  that contradict matters properly subject to judicial notice. Wada, 2015 WL

  9459898, at *6. After setting aside conclusory legal allegations, formulaic factual

  recitations that merely regurgitate the elements of a claim, and unreasonable

  factual inferences, the court, drawing “on its judicial experience and common

  sense,” must decide, in the specific context of the case, whether the factual

  allegations, if assumed true, allege a plausible claim. Iqbal, 556 U.S. at 679.


  951887v1/11562-2 -EAST\120439623.15          5
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 11 of 26                 PageID #:
                                     122



           Dismissal is proper either where there is a “lack of a cognizable legal

  theory” or “insufficient facts under a cognizable legal theory.” S.E.C. v. Lyndon,

  27 F. Supp. 3d 1062, 1072 (D. Haw. 2014). Here, Plaintiffs’ Complaint is replete

  with boilerplate allegations, conclusory statements, and unsupported legal

  conclusions that do not satisfy this “plausibility” requirement.

           B.       Plaintiffs’ Manufacturing Defect Claims Are Not Supported by
                    Sufficient Facts and Should Be Dismissed.
           Plaintiffs allege manufacturing defect claims with respect to Eliquis in

  connection with each cause of action, under the auspices of strict liability and

  negligence. See, e.g., Ex. G, FAC ¶¶ 61, 79, 102. No matter on which theory of

  liability Plaintiffs rely, all of these manufacturing claims fail and should be

  dismissed.

                    1.        Plaintiffs’ Strict Liability Manufacturing Defect Claims
                              (Counts I and II) Fail to Allege Facts Sufficient to Support a
                              Claim for Relief.

           Plaintiffs’ strict liability manufacturing defect claims do not allege any facts

  sufficient to establish that the Eliquis Mr. Segovia took departed from the

  manufacturers’ design and that any such departure could and did cause his injury.

  Under Hawai`i law, to prove a claim of manufacturing defect, a plaintiff must

  prove: (1) the product as manufactured or distributed was different from the

  manufacturer’s intended result; (2) that difference made the product dangerously

  defective for its intended or reasonably foreseeable use (or misuse); and (3) that


  951887v1/11562-2 -EAST\120439623.15              6
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 12 of 26                PageID #:
                                     123



  difference was a legal cause of injury to plaintiff. Hawai`i Civil Jury Instructions,

  Instruction No. 11.5 (Defective Manufacture – Elements), 1999 edition.

           A strict liability manufacturing defect claim hinges on proof that “the

  product departs from its intended design even though all possible care was

  exercised in the preparation and marketing of the product.” Burlington Ins. Co. v.

  United Coatings Mfg. Co., 518 F. Supp. 2d 1241, 1252 (D. Haw. 2007) (quoting

  Restatement (Third) Of Torts § 2(a), cmt. a). Stated differently, “[a]

  manufacturing defect occurs when, at the manufacturing stage, the product does

  not conform to the quality of other products of its kind.” Rodriguez v. Gen.

  Dynamics Armament & Tech. Prods., Inc., 696 F. Supp. 2d 1163, 1179 (D. Haw.

  2010) (quoting Wagatsuma v. Patch, 10 Haw. App. 547, 564 n.6 (1994)). A

  plaintiff must establish the product was in a defective condition when it left the

  hands of the seller or manufacturer. Dolan v. Hilo Med. Ctr., 127 Hawai`i 325,

  339 (2012) (citations omitted). A plaintiff alleging a manufacturing defect also

  must allege proximate causation; that is, “the plaintiff must prove a causal

  connection between the defect and the plaintiff’s injuries.” Id. (citing Acoba v.

  Gen. Tire, Inc., 92 Hawai`i 1, 16 (1999)).

           Here, Plaintiffs fail to plead any facts which, if true, would establish the

  essential elements of a strict liability manufacturing defect claim, including how

  the Eliquis Mr. Segovia took departed from the Defendants’ design, how any such


  951887v1/11562-2 -EAST\120439623.15           7
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 13 of 26               PageID #:
                                     124



  difference made the Eliquis he took dangerous, and how that difference caused his

  injury. Plaintiffs’ First and Second Counts, titled “Strict Liability in Tort” and

  “Manufacturing and Design Defect,” both purport to allege manufacturing defect

  claims but fail to allege any of these elements, which are necessary to a sustain

  such a claim. Compare Dolan, 127 Hawai`i at 339, with Ex. G, FAC.

           At most, Plaintiffs make two conclusory allegations with respect to the

  manufacturing of Eliquis, but neither is sufficient to satisfy the necessary elements

  of departure from an intended design and an increased danger due to that design,

  which causes a plaintiff’s injury. First, Plaintiffs claim a manufacturing defect as a

  result of an unspecified “defective condition.” See Ex. G, FAC, Count I, ¶ 61

  (“The Eliquis designed, researched, manufactured, tested, advertised, promoted,

  marketed, sold and distributed by Defendants was manufactured defectively in

  that Eliquis left the hands of Defendants in a defective condition and was

  unreasonably dangerous to its intended users.”) (emphasis added). In a different

  cause of action, Plaintiffs allege in passing that the Eliquis Mr. Segovia took

  “deviated from product specifications and/or applicable federal requirements …”

  Ex. G, FAC, Count II, ¶ 79 (“Eliquis was defective when it left Defendants’

  control and was placed in the stream of commerce, in that there were foreseeable

  risks that exceeded the benefits of the product and/or that it deviated from product

  specifications and/or applicable federal requirements, and posed a risk of serious


  951887v1/11562-2 -EAST\120439623.15         8
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 14 of 26               PageID #:
                                     125



  injury and death.”). In neither place do Plaintiffs support their conclusion by

  identifying a specific deviation from the intended design, how any such deviation

  made the Eliquis defective or more dangerous, or how that specific defect caused

  Mr. Segovia’s injuries. Plaintiffs’ allegations are sweeping, formulaic, and

  conclusory, and they do not offer sufficient facts to make Plaintiffs’ claims

  plausible under Twombly and Iqbal. Accordingly, Plaintiffs’ claims asserting strict

  liability manufacturing defect should be dismissed.

                    2.        Plaintiffs’ Negligent Manufacturing Defect Claims (Count
                              III) Fail to Allege Facts Sufficient to Support a Claim for
                              Relief.
           Similarly, Plaintiffs’ negligence-based manufacturing defect claims do not

  allege any facts sufficient to make it plausible that Defendants breached their duty

  of care in manufacturing the Eliquis Mr. Segovia took. Under Hawai`i law, a

  products liability claim based on a negligence theory “has three elements: (1) a

  duty to anticipate and design against reasonably foreseeable hazards; (2) breach of

  that duty; and (3) injury proximately [i.e., legally] caused by the breach.” Tabieros

  v. Clark Equip. Co., 85 Hawai`i 336, 370 (1997) (quoting Wagatsuma, 10 Haw.

  App. at 564) (internal quotations omitted). “In negligence, the plaintiff must show

  that the defendant breached its duty of care, while in strict liability the plaintiff

  must show that the product was defective because it was unreasonably dangerous.”

  Wagatsuma, 10 Haw. App. at 564. “Negligence theory concerns itself with


  951887v1/11562-2 -EAST\120439623.15             9
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 15 of 26              PageID #:
                                     126



  determining whether the conduct of the defendant was reasonable in view of the

  foreseeable risk of injury . . .” Id.

           Here, Plaintiffs’ negligence claim predicated on the manufacturing of

  Eliquis is flawed in several respects. Most importantly, the Complaint lacks

  plausible factual allegations. Plaintiffs allege in conclusory fashion that

  Defendants negligently manufactured (Ex. G, FAC, ¶ 102r), produced (id., ¶ 102s),

  and assembled (id., ¶ 102t) Eliquis in a manner which was dangerous to its users.

  Yet, Plaintiffs fail to include any facts that establish a plausible foundation for

  these conclusions.

           Courts in this Circuit have held that such conclusory allegations in product

  liability cases are insufficient to survive a motion to dismiss. See, e.g., Nimtz v.

  Cepin, No. 08cv1294, 2011 WL 831182, at *2-3 (S.D. Cal. Mar. 3, 2011)

  (dismissing complaint for failure to plead more than “legal conclusions”

  concerning the elements of a product liability action); Lucas v. City of Visalia, 726

  F. Supp. 2d 1149, 1155 (E.D. Cal. 2010) (dismissing manufacturing defect claim

  and holding that the plaintiff must identify and explain how the product deviated

  from the intended result or design, or how it deviated from other seemingly

  identical models, and that a bald allegation that the product had “a manufacturing

  defect” was an insufficient legal conclusion under Iqbal). Plaintiffs’ Complaint

  suffers from the same problem as the pleading in Lucas: the claims are boilerplate


  951887v1/11562-2 -EAST\120439623.15         10
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 16 of 26                PageID #:
                                     127



  accusations and stock recitations of the elements, unsupported by any pertinent

  factual allegations. Accordingly, Plaintiffs’ claims plainly fail to satisfy the

  rigorous pleading requirements of Iqbal and Twombly and should be dismissed.

           C.       Plaintiffs’ Design Defect Claims Fail to the Extent They Are
                    Based on Eliquis’ Chemical Composition.
           Plaintiffs’ design defect claims also fail to meet the Twombly/Iqbal standard,

  to the extent they are based on the chemical composition of Eliquis. Under

  Hawai`i law, in order to succeed on a strict liability claim for design defect, a

  plaintiff must prove: (1) a defect in the product which rendered it unreasonably

  dangerous for its intended or reasonably foreseeable use; and (2) a causal

  connection between the defect and the plaintiff’s injuries. Tabieros, 85 Hawai`i at

  354. A product may be found to be defectively designed in one of two ways:

  either in its composition or as a result of insufficient warnings. See Torres v. N.W.

  Eng’g Co., 86 Hawai`i 383, 397 (1997).

           Hawai`i follows the Restatement (Second) of Torts § 402A, however, which

  provides that medications are “unavoidably unsafe,” in that they are incapable of

  being made safe for their intended and ordinary use. See Restatement (Second) of

  Torts § 402A, comment k; Larsen v. Pacesetter Sys., Inc., 74 Haw. 1, 23-24

  (1992). Under Section 402A, a manufacturer of an “unavoidably unsafe product”

  such as a medication generally cannot be held “strictly liable for the unfortunate

  consequences stemming from their use.” Forsyth v. Eli Lilly and Co., No. 95-

  951887v1/11562-2 -EAST\120439623.15         11
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 17 of 26              PageID #:
                                     128



  00185, 1998 WL 35152135, at *3 (D. Haw. Jan. 5, 1998); see Larsen, 74 Haw. at

  24. An “unavoidably unsafe” product is thus not defective or unreasonably

  dangerous for purposes of strict product liability so long as it is accompanied by

  proper instructions and warning. See Larsen, 74 Haw. at 24; see also Forsyth,

  1998 WL 35152135, at *3-4. Thus, under Hawai`i law and the Restatement, a

  plaintiff may assert that the “design” of a medication is defective due to the

  inadequacy of the warnings that accompanied it, but she may not challenge the

  chemical composition of the medication or other aspects of the medication’s

  design. Id.

           Courts in Hawai`i and elsewhere have recognized this distinction between

  warnings-based and composition-based design defect claims. For example, in

  Forsyth, plaintiffs brought a wrongful death suit against the manufacturer of

  Prozac for William Forsyth’s murder of his wife, June, and his subsequent suicide.

  They claimed the manufacturer was liable under strict liability and negligence

  theories because William Forsyth had been prescribed Prozac for his depression

  shortly before the murder and suicide. Id. at *1. Defendants moved for summary

  judgment on Plaintiffs’ design defect claim, alleging that Prozac was an

  “unavoidably unsafe product” under comment k. Id. at *3-4. Defendants further

  argued that no alternative designs or forms of Prozac could be created without




  951887v1/11562-2 -EAST\120439623.15        12
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 18 of 26             PageID #:
                                     129



  completely altering the medication. Id.2 Although the court agreed with this

  analysis, it ultimately denied summary judgment on the warnings-based aspect of

  the plaintiff’s design defect claim because it found there was a “genuine issue of

  fact as to whether Lilly provided an adequate warning for Prozac.” Id.

           Courts in other states that have adopted the Restatement also have held that

  only warnings-based design defect claims are viable, while composition-based

  design defect claims are not. See Patterson v. Bayer Healthcare Pharms., Inc., No.

  1:14-cv-01087, 2015 WL 778997, at *9 (E.D. Cal. Feb. 24, 2015) (“Controlling

  California authority unequivocally prohibits strict liability claims for design defect

  against manufacturers of prescription drugs.”) (citing Brown v. Super. Ct., 44 Cal.

  3d 1049, 1069 (1988)); see also Stanley v. Novartis Pharms. Corp., 11 F. Supp. 3d

  987, 1003-04 (C.D. Cal. 2014) (granting summary judgment on strict liability

  design defect claim); Tucker v. Wright Med. Tech., Inc., No. 11-cv-03086, 2013

  WL 1149717, at *4-6 (N.D. Cal. Mar. 19, 2013) (collecting cases in accord and

  dismissing strict liability claim based on design defect as precluded by California

  law). In Brown, the Court pronounced, consistent with comment k, that a



           2
          Eliquis, like Prozac, cannot be modified without changing the medication
  entirely. See Forsyth, 1998 WL 35152135, at *4. The label provides the
  molecular formula of the apixaban molecule: C25H25N5O4. See RJN, Ex. B, p. 12.
  Any changes to the molecule would alter the compound and make it a different
  medication.


  951887v1/11562-2 -EAST\120439623.15         13
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 19 of 26               PageID #:
                                     130



  manufacturer is not strictly liable for injuries caused by a prescription medication

  so long as the medication was properly prepared and accompanied by adequate

  warnings. 44 Cal. 3d 1069. In clarifying why design defect claims must be limited

  to those narrow avenues of liability, the court explained that “there is no possibility

  for an alternative design for a drug like DES, which is a scientific constant

  compounded in accordance with a required formula.” 44 Cal. 3d at 1062.3

           Accordingly, to the extent Plaintiffs assert design defect causes of action, the

  only viable claims relate to the adequacy of the Eliquis warning, and Plaintiffs’

  claims should be narrowed accordingly. To the extent Plaintiffs assert other

  aspects of Defendants’ design of Eliquis were defective (under strict liability) or

  negligent (under their negligence claims), those fail as a matter of law and should

  be dismissed.4



           3
           Defendants also contest Plaintiffs’ allegations that the warnings
  accompanying Eliquis were inadequate, because the label warned that Eliquis
  “increases the risk of bleeding and can cause serious, potentially fatal bleeding,”
  RJN, Ex. B, before Mr. Segovia ever took the medication. Further, Plaintiffs’
  failure to warn claims are preempted under Wyeth v. Levine, 555 U.S. 555, 129
  S.Ct. 1187 (2009), and their design defect claims are preempted under Mutual
  Pharm. Co. v. Bartlett, 570 U.S. ---, 133 S. Ct. 2466 (2013) and Yates v. Ortho-
  McNeil-Janssen Pharms., Inc., No. 15-3104, slip op. (6th Cir. Dec. 11, 2015).
  Defendants intend to assert a preemption defense and to challenge these claims
  later in the litigation.
           4
         Courts have found that design defect claims sounding in strict liability or
  negligence are “functionally synonymous” and are therefore analyzed identically.
                                                                        (continued...)

  951887v1/11562-2 -EAST\120439623.15          14
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 20 of 26               PageID #:
                                     131



           D.       Plaintiffs’ Fraud-Based Allegations of Misrepresentation Fail to
                    Satisfy the Heightened Pleading Standard of Rule 9(b) and Should
                    Be Dismissed.
           Rule 9(b) of the Federal Rules of Civil Procedure requires that, when fraud

  or mistake is alleged, “a party must state with particularity the circumstances

  constituting fraud or mistake. Malice, intent, knowledge, and other conditions of a

  person’s mind may be alleged generally.” Fed. R. Civ. P. 9(b). Allegations of

  fraud must be “specific enough to give defendants notice of the particular

  misconduct which is alleged to constitute the fraud charged so that they can defend

  against the charge and not just deny that they have done anything wrong.” Harmer

  Radio & Elec., Inc. v. S & S Fire Apparatus Co., No. 10-007000, 2013 WL

  3663878, at *3 (D. Haw. July 11, 2013) (quoting Bly—Magee v. California, 236

  F.3d 1014, 1019 (9th Cir. 2001)). Fraud claims must allege the “time, place, and

  specific content of the false representations” as well as the parties’ identities. Id.

  (citing Edwards v. Marin Park, Inc., 356 F.3d 1058, 1066 (9th Cir. 2004)); see also



  (...continued)

  See Yates v. Ortho-McNeil-Janssen Pharms., Inc., No. 15-3104, 10 slip op. (6th
  Cir. Dec. 11, 2015) (citing Cavanagh v. Ford Motor Co., No. 13–cv–4584, 2014
  WL 2048571, at *5 (E.D.N.Y. May 19, 2014)); Papike v. Tambrands Inc., 107
  F.3d 737, 744 (9th Cir. 1997). Furthermore, notwithstanding their kitchen sink
  approach, Plaintiffs’ laundry list of purported negligent acts falls squarely within
  the purview of a manufacturing (Ex. G, FAC, ¶ 102, subp. a, r-t), design (id.,
  ¶ 102, subp. a-c, g-j, m, q, w) and warning (id., ¶ 102, subp. d-f, k, l, n-p, u, v)
  defect claim.


  951887v1/11562-2 -EAST\120439623.15         15
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 21 of 26              PageID #:
                                     132



  Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir. 1993). A plaintiff must plead

  these evidentiary facts and must explain why the alleged conduct or statements are

  fraudulent. Illinois Nat. Ins. Co. v. Nordic PCL Constr., Inc., 870 F. Supp. 2d

  1015, 1036-37 (D. Haw. 2012) (quoting Vess v. Ciba–Geigy Corp. USA, 317 F.3d

  1097, 1106 (9th Cir. 2003)).

           In Vess, the court explained two situations in which a plaintiff—who has not

  asserted a cause of action specifically sounding in fraud—is nonetheless required

  to plead with particularity to satisfy Rule 9(b). Vess, 317 F.3d at 1103-04. Both

  situations arise in cases where fraud is not a necessary element of any claim

  asserted, but a plaintiff chooses, nonetheless, to allege in the complaint that the

  defendant has engaged in fraudulent conduct. Id. at 1103.

           First, “the plaintiff may allege a unified course of fraudulent conduct and

  rely entirely on that course of conduct as the basis of a claim. In that event, the

  claim is said to be ‘grounded in fraud’ or to ‘sound in fraud,’ and the pleading of

  that claim as a whole must satisfy the particularity requirement of Rule 9(b).” Id.

  at 1103-04; see also Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir.

  2009). Second, in other cases, a plaintiff may not allege a “unified course of

  fraudulent conduct” but nevertheless inserts allegations of defendant’s fraudulent




  951887v1/11562-2 -EAST\120439623.15          16
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 22 of 26                 PageID #:
                                     133



  conduct. Vess, at 1104. In those cases, only the allegations asserting fraudulent

  conduct must be pled with specificity as required by Rule 9(b). Id. 5

           Here, although Plaintiffs may not allege a “unified course of fraudulent

  conduct” throughout the Complaint, Plaintiffs plainly and repeatedly insert

  numerous allegations of purportedly fraudulent conduct, including:

      •         “In written information about the safety and risks of Eliquis,
                Defendants negligently and fraudulently represented to the
                medical and healthcare community, including Decedent’s
                prescribing doctor, the Food and Drug Administration (hereinafter
                referred to as the “FDA”), to Decedent and the public in general,
                that Eliquis had been tested and was found to be safe and effective
                for its indicated uses.” Ex. G, FAC, ¶ 3 (emphasis added).

      •         “Defendants concealed their knowledge of Eliquis’ defects from
                Decedent, the FDA, the public in general and the medical
                community, including Decedent’s prescribing doctor.” id., ¶ 4
                (emphasis added).

      •         “These representations were made by Defendants with the
                intent of defrauding and deceiving Decedent, the public in
                general, and the medical and healthcare community including


           5
          Notably, while negligent misrepresentation claims—based solely on
  negligent and not intentional or fraudulent conduct—are not per se governed by
  Rule 9(b), under Hawai`i law, when a claim is based on some fraudulent and some
  non-fraudulent conduct, the allegations of fraud are subject to Rule 9(b)’s
  heightened pleading requirements and may be dismissed if pled insufficiently.
  Compare Illinois Nat. Ins. Co., 870 F. Supp. 2d at 1038-39 (dismissing allegations
  to the extent based on fraudulent conduct as insufficiently pled) with Smallwood v.
  NCsoft Corp., 730 F. Supp. 2d 1213, 1231-32 (D. Haw. 2010) (heightened
  pleading standard does not apply to claims of exclusively negligent
  misrepresentations).



  951887v1/11562-2 -EAST\120439623.15           17
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 23 of 26                    PageID #:
                                     134



                Decedent’s prescribing doctor, and were made with the intent of
                inducing the public in general, and the medical community in
                particular, to recommend, dispense and purchase Eliquis, all of
                which evinced a callous, reckless, willful, depraved indifference
                to health, safety and welfare of the Decedent herein.” id., ¶ 5
                (emphasis added).

      •         “. . . Sadly, Defendants and their agents committed fraud in
                their conduct of the ARISTOTLE study, by concealing side effects
                which occurred in test users of Eliquis . . . .” id., ¶ 26 (emphasis
                added).

      •         “Upon information and belief, Defendants concealed and failed
                to completely disclose their knowledge that Eliquis was associated
                with or could cause life-threatening bleeding as well as its
                knowledge that they had failed to fully test or study said risk.” id.,
                ¶ 43 (emphasis added).6

      •         “Improperly concealing and/or misrepresenting information
                from the Decedent, healthcare professionals, and/or the FDA,
                concerning the severity of risks and dangers of Eliquis compared to
                other forms of treatment for blood-thinning.” id., ¶ 102 (v)
                (emphasis added).

      •         “Punitive and/or exemplary damages for the wanton, willful,
                fraudulent, reckless acts of the Defendants, which constitute
                gross negligent [sic], as Defendants demonstrated a complete
                disregard and reckless indifference for the safety and welfare of the
                general public and to the Plaintiffs in an amount sufficient to
                punish Defendants and deter future similar conduct.” id., Prayer
                for Relief, ¶ 3 (emphasis added).

           Those conclusory allegations are plainly insufficient under Rule 9(b).

  Plaintiffs do not allege any details of the misrepresentations, or the “who, what,


           6
          Allegations “on information and belief” are insufficient to satisfy Rule
  9(b). Illinois Nat., 870 F. Supp. 2d at 1037. Plaintiffs are obligated to set forth the
  facts that form the bases for the “belief.” Id.


  951887v1/11562-2 -EAST\120439623.15            18
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 24 of 26             PageID #:
                                     135



  where, when, why and how” that are needed to satisfy Rule 9(b). As a result,

  Plaintiffs’ allegations regarding fraudulent behavior on behalf of Defendants fail to

  satisfy the heightened pleading standards of Rule 9(b) and should be dismissed.

           E.       Plaintiffs’ Claim for Punitive Damages Is Not Supported by
                    Sufficient Factual Allegations.
           In Hawai`i, punitive damages may be awarded in a product liability action

  based on strict liability or negligence only where a plaintiff proves the requisite

  aggravating conduct on the part of the defendant. Masaki v. Gen. Motors Corp.,

  71 Haw. 1, 10-11 (1989) (quoting Bright v. Quinn, 20 Haw. 504, 512 (1911).

  Those aggravating factors include extreme scenarios where a party “‘has acted

  wantonly or oppressively or with such malice as implies a spirit of mischief or

  criminal indifference to civil obligations’; or where there has been ‘some wilful

  (sic) misconduct or that entire want of care which would raise the presumption of a

  conscious indifference to consequences.’” Id. at 12-13; see also Ass’n of

  Apartment Owners of Newtown Meadows ex rel. Bd. of Dir. v. Venture 15, Inc.,

  115 Hawai`i 232, 297 (2007) (reciting aggravating factors needed for punitive

  damages award). Applicability of punitive damages always requires “a positive

  element of conscious wrongdoing,” not merely inadvertence, mistake, or errors in

  judgment. See Ass’n of Apartment Owners, 115 Hawai`i at 297 (citing

  Restatement (Second) of Torts § 908).




  951887v1/11562-2 -EAST\120439623.15         19
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 25 of 26               PageID #:
                                     136



           Plaintiffs here insert boilerplate allegations that Defendants’ conduct is

  “extreme and outrageous” and argue Plaintiffs should be entitled to punitive

  damages. See Ex. G, FAC, ¶¶ 75, 95, 109. Like Plaintiffs’ other faulty claims,

  these too rely on conjecture and conclusory allegations rather than concrete,

  specific factual allegations. Further, Plaintiffs cannot point to any “positive

  element of wrongdoing,” such as knowledge or action on the part of Defendants, to

  establish the conduct necessary to warrant punitive damages. Because the FAC

  does not allege specific facts demonstrating that any of the Defendants have acted

  with malice, oppression, or gross negligence, Plaintiffs cannot sustain a claim for

  punitive damages. See Barnes v. Sea Hawai`i Rafting, LLC, No. 13-00002, 2013

  WL 6062527, at *8 (D. Haw. Nov. 15, 2013) (rejecting punitive damages claim

  because the complaint did not “set forth any specific factual allegations

  supporting” plaintiff’s conclusory statements). For these reasons, Plaintiffs’ prayer

  for punitive damages is wholly unsupported, and this Court should dismiss it as

  well.

  IV.      CONCLUSION

           The bulk of Plaintiffs’ First Amended Complaint should be dismissed

  pursuant to Fed. R. Civ. P. 12(b)(6). Counts I, II, and III purport to allege claims

  for a manufacturing defect. Plaintiffs have neglected to plead, however, the facts

  necessary to support their manufacturing defect claims—regardless of whether


  951887v1/11562-2 -EAST\120439623.15          20
Case 1:15-cv-00519-DKW-RLP Document 19-1 Filed 01/26/16 Page 26 of 26             PageID #:
                                     137



  those allegations sound in strict liability or negligence—and as such those claims

  should be dismissed. Counts I and II also purport to allege strict liability and

  negligent design defect claims, but under Hawai`i law, there is no viable design

  defect claim premised on the chemical composition of a prescription medication.

  At most, Plaintiffs’ design defect claims should be limited to those based on the

  warnings accompanying the medication.

           Not only are Plaintiffs’ manufacturing defect claims factually deficient and

  their design defect claims deficient as a matter of law, but Plaintiffs’ inclusion of

  sporadic allegations of fraud also lack the particularity required by Rule 9(b).

  These claims, too, should be dismissed. Finally, the First Amended Complaint

  purports to seek punitive damages, but Plaintiffs fail to assert factual allegations

  and conduct that could support such damages.

                    DATED: Honolulu, Hawai`i, January 26, 2016.


                                             /s/ JOHN-ANDERSON L. MEYER
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  951887v1/11562-2 -EAST\120439623.15         21
